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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

NINA KAZAZIAN,
                                 )
                Plaintiff,       )
                                 )                                No. 24-cv-10843
       v.                        )
                                 )                                Judge April M. Perry
CNA FINANCIAL CORPORATION d/b/a  )
CONTINENTAL CASUALTY COMPANY     )
d/b/a CNA INSURANCE COMPANIES;   )
JEAN L. HAUBER; WILSON, ELSER,   )
MOSKOWITZ, EDELMAN & DICKER LLP; )
JASON MELICHAR; and DR. LAURA    )
REIFFEL,                         )
                                 )
             Defendants.         )
                                 )


                                       OPINION AND ORDER

        Beginning in 2020, Nina Kazazian (“Plaintiff”) faced a series of attorney disciplinary

proceedings in Colorado, where she had practiced since 1992. As a result of those proceedings,

Plaintiff was disbarred in 2023. See People v. Kazazian, 531 P.3d 1 (Colo. O.P.D.J. 2023).

Plaintiff subsequently brought this case against her malpractice insurance carrier and one of its

employees, as well as the law firm, lawyer, and expert hired by the carrier to defend Plaintiff

during the disciplinary proceedings. Specifically, Defendants in this case are Plaintiff’s insurance

carrier CNA Financial Corporation d/b/a Continental Casualty Company d/b/a CNA Insurance

Companies (“CNA”);1 Jean L. Hauber, an employee of CNA; the law firm Wilson, Elser,

Moskowitz, Edelman & Dicker LLP (“Wilson Elser”) and partner Jason Melichar, who CNA



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  CNA contends that Plaintiff has sued the incorrect legal entity. Because the Court dismisses the case, it
does not need to untangle the various corporate relationships or address which CNA legal entity would be
the proper defendant.
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retained for Plaintiff’s defense; and Dr. Laura Reiffel, an expert retained for Plaintiff’s defense

(collectively with Wilson Elser and Melichar, “Counsel Defendants”).

       Defendants move to dismiss Plaintiff’s claims on various grounds. All seek to dismiss the

case for improper venue or under the doctrine of forum non conveniens. Defendants Melichar

and Dr. Reiffel also seek dismissal for lack of personal jurisdiction. Multiple defendants also

seek to dismiss certain of Plaintiff’s counts for failure to state a claim under Rule 12(b)(6). While

there are weighty challenges to the sufficiency of the complaint, the Court limits its analysis to

the threshold issues of personal jurisdiction and venue, which are dispositive. As set forth in

greater detail below, the Court finds that while it may have personal jurisdiction over all of the

Defendants, the Northern District of Illinois is not the proper venue for this action. Accordingly,

the case is dismissed.

                                         BACKGROUND

       According to the complaint, Plaintiff is now a citizen of Wyoming who practiced law in

Colorado from 1992 until 2023. Doc. 65 at 4. Beginning in 2020, Plaintiff faced a series of

disciplinary proceedings brought by the Colorado Office of Attorney Regulation Counsel

(“OARC”) related to her practice of law. Id. at 14. The first proceeding was initiated in

September 2020, and the disciplinary hearing was held in January 2023. Id. In May 2022,

another petition was filed by OARC to prevent Plaintiff from practicing law due to an

unspecified disability. Id.

       At all relevant times, Plaintiff held a professional liability insurance policy issued by

CNA. Id. at 9–13. Under Plaintiff’s policy, CNA was to provide Plaintiff with counsel to defend

her in disciplinary proceedings and reimburse her up to $50,000 in attorneys’ fees and costs for

her representation. Id. at 18–19. In June 2022, CNA retained the law firm Wilson Elser and its

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Colorado-based partner Jason Melichar to represent Plaintiff in the Colorado disciplinary

proceedings. Id. at 5–6, 15. Dr. Reiffel was also retained to produce an expert report for

Plaintiff’s defense, though no report was produced. Id. at 8, 15, 20.

        CNA paid Counsel Defendants out of Plaintiff’s policy. To receive payments, Counsel

Defendants sent invoices and time records to CNA either by email or through electronic billing

software. Id. at 7. CNA then reviewed the invoices and determined an approved payment

amount. Id. at 5–6. This contrasted with the process that had been related to Plaintiff by Hauber,

a CNA claims representative. Specifically, Hauber allegedly told Plaintiff that her policy dictated

that payments from CNA be issued directly to Plaintiff to reimburse her for costs and fees

associated with her representation, rather than being paid by CNA to retained service providers.

Id. at 7.

        While she was represented, Plaintiff never received invoices or statements from any

Defendants. Id. at 7-8. Plaintiff instructed Hauber not to make payments to Dr. Reiffel because

Dr. Reiffel had failed to deliver an expert report. Id. at 15. Plaintiff also told CNA not to make

payments to Wilson Elser or Melichar until Plaintiff had a chance to personally review the bills

and determine the authorized amounts. Id. at 16.

        In March 2023, Plaintiff was disbarred in Colorado. People v. Kazazian, 531 P.3d 1

(Colo. O.P.D.J. 2023). In October 2024, Plaintiff filed suit in this court, bringing state law claims

against CNA and Counsel Defendants for mishandling her defense and depleting her policy

benefits. Doc. 1. Defendant Hauber was not named in Plaintiff’s initial complaint. In January

2025, Defendants filed motions to dismiss, to which Plaintiff responded in February by

amending her complaint. Doc. 65. Plaintiff’s amended complaint added Hauber as a defendant




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and also added a claim under the federal Racketeer Influenced and Corrupt Organizations Act

(“RICO”).

       The amended complaint alleges six counts. Count I is a RICO claim brought against all

defendants. Id. at 16-18. The gravamen of this claim is that Counsel Defendants sent fraudulent

billing records and invoices to CNA for work either not performed or not reasonably incurred for

the purposes of representing Plaintiff in her Colorado disciplinary proceedings. Although

brought against all defendants, Plaintiff alleges that CNA was a victim of the fraud scheme

perpetrated by Counsel Defendants. Hauber’s role, if any, in the supposed RICO scheme is

unclear. Count II is a breach of contract claim brought against CNA and Hauber. Plaintiff alleges

that CNA paid Counsel Defendants without securing Plaintiff’s approval or providing her with

an opportunity to review or contest expenses, as supposedly required under her policy. Id. at 19.

Count III is a legal malpractice claim brought against Wilson Elser and Melichar, alleging

various issues with the representation provided during the Colorado disciplinary proceedings. Id.

at 21. Count IV is a bad faith claim against CNA premised largely on the same allegations

underlying Count II, i.e., that CNA mishandled Plaintiff’s insurance benefits by hiring and then

improperly disbursing payments to Counsel Defendants without Plaintiff’s approval and despite

her protests as to their incompetence. Id. at 25. Count V is an unjust enrichment claim brought

against Counsel Defendants as to the payments they received from CNA for allegedly subpar

work. Id. at 26. Count VI is a fraud claim brought against Counsel Defendants for allegedly

misrepresenting that they could competently represent Plaintiff. Id. at 28.




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                                            ANALYSIS

       I.    Personal Jurisdiction

       Defendants Melichar and Dr. Reiffel seek dismissal of Plaintiff’s claims against them for

lack of personal jurisdiction. Once challenged, the plaintiff bears the burden of establishing

personal jurisdiction. N. Grain Mktg., LLC v. Greving, 743 F.3d 487, 491 (7th Cir. 2014). If a

court rules on a defendant’s motion to dismiss for lack of personal jurisdiction without holding

an evidentiary hearing, the plaintiff “need only make out a prima facie case of personal

jurisdiction.” Purdue Rsch. Found. v. Sanofi-Synthelabo, S.A., 338 F.3d 773, 782 (7th Cir. 2003).

In making this determination, the Court reads the complaint liberally and resolves factual

disputes in the plaintiff’s favor. Greving, 743 F.3d at 491.

       Melichar and Dr. Reiffel argue that this Court lacks personal jurisdiction over them under

the standard applied in diversity suits, which hinges on a defendant’s contacts with the state in

which the federal court sits. See Klump v. Duffus, 71 F.3d 1368, 1371 (7th Cir. 1995). However,

Plaintiff also asserts a claim under RICO, thereby invoking federal question jurisdiction in

addition to diversity jurisdiction. “In a case involving federal question jurisdiction, a federal

court has personal jurisdiction over the defendant if either federal law or the law of the state in

which the court sits authorizes service of process to that defendant.” Curry v. Revolution Lab’ys,

LLC, 949 F.3d 385, 393 (7th Cir. 2020) (internal quotes and citation omitted). The Seventh

Circuit has interpreted RICO, which allows for nationwide service of process for civil RICO

claims, 18 U.S.C. § 1965(b), to allow personal jurisdiction over defendants alleged to have

violated RICO anywhere in the United States. Lisak v. Mercantile Bancorp, Inc., 834 F.2d 668,

671–72 (7th Cir. 1987); see also Matter of Oil Spill by Amoco Cadiz Off Coast of France on

March 16, 1978, 954 F.2d 1279, 1294 (7th Cir. 1992) (when applying national law, “the relevant

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contacts [for personal jurisdiction purposes] are the contacts between the defendant and the

sovereign’s nation.”).

       The Court recognizes that multiple defendants have raised serious challenges to the

sufficiency of Plaintiff’s RICO claim, which is the sole basis for this Court’s federal question

jurisdiction. This raises the question of whether Plaintiff’s RICO claim provides a colorable basis

for federal question jurisdiction, as jurisdiction under 28 U.S.C. § 1331 may not be invoked by a

claim that “clearly appears to be immaterial and made solely for the purpose of obtaining

jurisdiction.” McCoy v. Iberdrola Renewables, Inc., 760 F.3d 674, 681 (7th Cir. 2014) (internal

quotation omitted). Indeed, if the Court were to proceed to the merits of Defendants’ 12(b)(6)

motions, the Court would likely dismiss the RICO claim for failing to properly allege a RICO

enterprise. That said, the Court would also allow Plaintiff to amend her complaint, and as for the

jurisdictional question, “[w]hen it comes to invoking federal question jurisdiction, the bar is

low.” Id. Accordingly, at this time the Court finds that there is a possibility it would have

personal jurisdiction over Defendants Melichar and Dr. Reiffel. As is discussed further below,

venue poses the biggest challenge for Plaintiff, and therefore an amended complaint will not be

allowed—at least not by this Court.

       II.   Venue

       The Court considers next whether venue is proper in the Northern District of Illinois.

Under Rule 12(b)(3), a defendant may move for dismissal of an action filed in an improper

venue. FED. R. CIV. P. 12(B)(3). Once challenged, the plaintiff bears the burden of establishing

that venue is proper. Int’l Travelers Cheque Co. v. BankAmerica Corp., 660 F.2d 215, 222 (7th

Cir. 1981). In deciding a Rule 12(b)(3) motion, “a court may look beyond the mere allegations of

a complaint, and need not view the allegations of the complaint as the exclusive basis for its

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decision.” Deb v. SIRVA, Inc., 832 F.3d 800, 809 (7th Cir. 2016). If venue is improper, the Court

“shall dismiss [the case], or if it be in the interest of justice, transfer such case to any district or

division in which it could have been brought.” 28 U.S.C. § 1406(a).

        Venue is governed by 28 U.S.C. § 1391(b), which provides that venue for an action is

proper in:

        (1) a judicial district in which any defendant resides, if all defendants are residents of the
        State in which the district is located; (2) a judicial district in which a substantial part of
        the events or omissions giving rise to the claim occurred, or a substantial part of property
        that is the subject of the action is situated; or (3) if there is no district in which an action
        may otherwise be brought as provided in this section, any judicial district in which any
        defendant is subject to the court's personal jurisdiction with respect to such action.

28 U.S.C. § 1391(b). “When venue is challenged, the court must determine whether the case falls

within one of the three categories set out in § 1391(b).” Atl. Marine Const. Co. Inc. v. U.S. Dist.

Ct. for W. Dist. Of Texas, 571 U.S. 49, 56 (2013). If it does not, “venue is improper, and the case

must be dismissed or transferred under § 1406(a).” Id. Venue is only available under the third

paragraph of Section 1391(b) if there is no judicial district where venue is proper under Sections

1391(b)(1) or 1391(b)(2). Id. at 56–57 (third paragraph “provides a fallback option” where “no

other venue is proper”).

        In this case, the amended complaint alleges that Defendants Melichar and Dr. Reiffel are

domiciled in Colorado. Doc. 65 at 3. Because two of the defendants are not residents of Illinois,

venue is not proper here under 28 U.S.C. § 1391(b)(1). Nor is venue proper here based upon 28

U.S.C. § 1391(b)(3), which can only be invoked when there is no district in which a substantial

part of the events or omissions giving rise to the claim occurred. That leaves Plaintiff only 28

U.S.C. § 1391(b)(2), if she can demonstrate that a “substantial part of the events” giving rise to

her claims occurred in the Northern District of Illinois.



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       The Seventh Circuit has not articulated a test for determining when venue is proper under

Section 1391(b)(2). Other Circuits interpreting the section have described the “substantiality”

question to be “more a qualitative than a quantitative inquiry, determined by assessing the

overall nature of the plaintiff's claims and the nature of the specific events or omissions in the

forum, and not by simply adding up the number of contacts.” Daniel v. Am. Bd. Of Emergency

Med., 428 F.3d 408, 432–33 (2d Cir. 2005); see also Jenkins Brick Co. v. Bremer, 321 F.3d

1366, 1372 (11th Cir. 2003) (“substantial part” analysis looks at acts and omissions with “a close

nexus to the wrong”). Congress provided for venue in the place of “residence of the defendants

or to a place which may be more convenient to the litigants … or to the witnesses who are to

testify in the case.” Leroy v. Great W. United Corp., 443 U.S. 173, 185 (1979) (quoting

S.Rep.No.1752, 89th Cong., 2d Sess. 3 (1966)). As such, the Court views “substantial part”

analysis as informed by concerns regarding the “availability of witnesses, the accessibility of

other relevant evidence, and the convenience of the defendant (but not of the plaintiff).” Id.

       Plaintiff’s claims fall into two categories. In the first category, Plaintiff seeks recovery

against Counsel Defendants because they were paid despite the alleged inadequacy of their

efforts to defend Plaintiff in her Colorado disciplinary proceedings. These claims include

Plaintiff’s legal malpractice claim against Wilson Elser and Melichar (Count III) and her unjust

enrichment and fraud claims against Counsel Defendants (Counts V and VI). Plaintiff’s RICO

claim (Count I) also falls in this category, insofar as Plaintiff identifies wiring of fraudulent

invoices and records sent by Counsel Defendants as predicate acts. In the second category of

claims, Plaintiff seeks to collect against CNA and Hauber (Counts II and IV) alleging that CNA

improperly hired and made payments to the Counsel Defendants without giving Plaintiff an

opportunity to review or approve any billed expenses.

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        Having considered all of Plaintiff’s allegations, the Court concludes that the Northern

District of Illinois is not the proper venue to litigate this action. Starting with the first category of

claims (Counts I, III, V, and VI), no substantial part of the events or omissions involving

Plaintiff’s attorney disciplinary proceedings occurred in Illinois. Plaintiff alleges that Counsel

Defendants, two-thirds of whom reside in Colorado, provided her incompetent representation in

a Colorado administrative proceeding.2 To the extent Counsel Defendants misrepresented the

substance of their work in fraudulent invoices, those documents were authored in Colorado and

supposedly misrepresented the substance of work performed (or not performed) in Colorado. To

prosecute these claims, Plaintiff would need to depose witnesses and obtain records located in

Colorado, not the Northern District of Illinois. Accordingly, the Court has no trouble concluding

that all acts or omissions with a close nexus to these claims occurred outside of the Northern

District of Illinois.

        Plaintiff’s second category of claims against CNA and Hauber is a closer call, but not by

much. To determine proper venue in a breach of contract action, courts in this district consider

factors including “where the conduct underlying the breach occurred and where performance

under the contract was to take place.” Allstate Life Ins. Co. v. Stanley W. Burns, Inc., 80

F.Supp.3d 870, 877 (N.D. Ill. 2015) (internal citation omitted). Plaintiff asserts that her claims

are substantially connected to Illinois because CNA executed the policy in Illinois and because

Plaintiff corresponded with CNA through Hauber, an Illinois-based employee. However, the

conduct that is alleged to constitute the breach (i.e., the payment of attorney and expert defense




2
 For instance, Plaintiff asserts that Dr. Reiffel “did not participate in Plaintiff’s defense in any action in
Colorado … did not timely (or otherwise) complete an expert report … did not testify at any proceeding
[nor] provide any other services in connection with Plaintiff’s disability and disciplinary proceedings.”
Doc. 100 at 9.
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costs) occurred in Colorado. Plaintiff contends that this was a breach because proper contract

performance would have entailed the invoices and payments being sent to her. At the time, both

Plaintiff and her law firm (the named insured) were located in Colorado. Furthermore, Plaintiff’s

asserted damages associated with these claims rest on the premise that Counsel Defendants were

incompetent and provided an inadequate defense. See, e.g., Doc. 65 at 19 (alleging damages

relating to insufficient funds “to secure adequate legal representation and expert testimony); id.

at 25 (same). Thus, although some events and communications related to the claims may have

occurred in this district, the breach occurred in Colorado, performance should have occurred in

Colorado, and injury was sustained entirely in Colorado. Based upon this, Colorado is the only

judicial district where a substantial part of the events occurred.

        In response to Defendants’ venue arguments, Plaintiff contends that substantiality is

satisfied because billing records, invoices, and other communications were emailed or wired to

this judicial district, and that CNA’s payments flowed therefrom. 3 The Court disagrees that this

is enough to be considered “substantial.” A defendant’s communications to or from a judicial

district only form a substantial part of the underlying claims when there is a “sufficient

relationship between the communication and the cause of action.” Master Tech Prods., Inc. v.

Smith, 181 F.Supp.2d 910, 913 (N.D. Ill. 2002). Incidental communications will not do.

Compare id. at 914 (telephone calls divulging confidential product information not incidental to

RICO suit alleging scheme to develop competing product using stolen information) with Pfeiffer

v. Insty Prints, 1993 WL 443403, at *2 (N.D. Ill. Oct. 29, 1993) (in breach of contract action, no




3
 Plaintiff cites Estate of Moore v. Dixon, 460 F.Supp.2d 931, 936 (E.D. Wis. 2006) for the principle that
only a portion of events need occur in a state to satisfy venue requirements. Perhaps, but Dixon still
follows the principle that for substantiality purposes only acts that have a “close nexus” to Plaintiff’s
claims may be considered. Id. (internal citations omitted).
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venue based on telephone calls to and from judicial district not related to performance or breach

of contract). At best, Plaintiff has alleged only incidental communications from CNA, which do

not affect the legal analysis as to whether a breach of contract occurred. 4

        It is true that courts in this district have sometimes found venue proper where Illinois-

based plaintiffs received fraudulent communications from out-of-state defendants. See, e.g.,

Jackson v. N’Genuity Enters., Co., 2014 WL 4269448, at *6 (N.D. Ill. Aug. 28, 2014) (Arizona

defendant sent false and misleading materials to Illinois-based plaintiff); Mercantile Cap.

Partners v. Agenzia Sports, Inc., 2005 WL 351926, at *5 (N.D. Ill. Feb. 10, 2005) (Minnesota

defendant sent false documents to Illinois plaintiff). But CNA, the recipient of the allegedly

fraudulent invoices, is not a plaintiff, and Plaintiff herself has no connection to Illinois.

Moreover, Plaintiff has alleged that the expense and billing records were fraudulent because

Counsel Defendants misrepresented the substance of work performed for her in Colorado. To

prove these invoices and records were fabricated, Plaintiff would need to discover what the

Counsel Defendants did or did not do in Colorado. If such evidence exists, it exists where the

representation took place, not where invoices happened to be emailed or payments happened to

be issued.5




4
  For example, Plantiff contends that Hauber, who was in Illinois, told Plaintiff that the attorney fees
would be paid directly to Plaintiff. Doc. 65 at 7. But Hauber’s ex post facto interpretation of the insurance
policy language is not relevant in a breach of contract action. See, e.g., Midland Hotel Corp. v. Reuben H.
Donnelley Corp., 515 N.E.2d 61, 65 (Ill. 1987) (holding that a “defendant’s subjective understanding of
the terms of the contract is immaterial”).
5
  The Seventh Circuit has cautioned that the district where emails are read means very little, at least for
the purposes of personal jurisdiction. See Advanced Tactical Ordnance Sys., LLC v. Real Action
Paintball, Inc., 751 F.3d 796, 803 (7th Cir. 2014) (explaining that an email “does not exist in any location
at all [but] bounces from one server to another … and winds up wherever the recipient happens to be”).
By the same logic, the Court is skeptical that venue becomes proper in Illinois simply because emails
misrepresenting acts occurring in Colorado reached a recipient that happened to do business in Illinois.
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       For these reasons, the Court concludes that venue would be proper in a federal or state

court in Colorado, but not in the Northern District of Illinois. The next question is whether to

dismiss Plaintiff’s case or transfer it to another court. When venue is improper, the Court may

transfer a case to somewhere venue is proper rather than dismiss it, if doing so is “in the interest

of justice.” 28 U.S.C. § 1406(a). Transfers under this section are within the “broad discretion” of

the district court. Cote v. Wadel, 796 F.2d 981, 985 (7th Cir. 1986). The interests of justice are

served where a plaintiff makes the honest mistake of filing suit in the wrong district and the

statute of limitations has run, such that dismissal rather than transfer would result in the plaintiff

losing a substantial part of her cause of action. See Goldlawr, Inc. v. Heiman, 369 U.S. 463, 467

(1962). But harsh results are not enough on their own to require transfer, especially where a

filing mistake is “elementary” and “impose[s] costs on opposing parties and on the judicial

system.” Cote, 796 F.2d at 985; see also Cont’l Ins. Co. v. M/V ORSULA, 354 F.3d 603, 608 (7th

Cir. 2003) (failure to transfer, despite running of statute of limitations, not abuse of discretion

where plaintiff that filed in wrong judicial district was sophisticated party and there was “nothing

obscure” about the proper venue).

       With these considerations in mind, the Court declines to transfer Plaintiff’s case and

dismisses it instead. By her own description, Plaintiff was a “highly rated” attorney with more

than three decades of legal experience. Doc. 65 at 4. The venue determination in this case is not

particularly complex, and a lawyer with Plaintiff’s sophistication surely knew that Colorado was

the proper place to press her claims. As both parties have noted, Plaintiff has been barred from

litigating pro se in Colorado state court, see GHP Horwath, P.C. v. Kazazian, 543 P.3d 1035

(Colo. 2024), and the Court believes this is why she did not bring her case in the most obvious

place. But Plaintiff still had the option to obtain an attorney to bring her case in Colorado. And,

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no such ban applies in the U.S. District Court for the District of Colorado. Nor is the Court

persuaded by Plaintiff’s argument that the statute of limitations has run on some of her claims.

Plaintiff’s RICO claim, to the extent she can amend to state it properly, has a four-year statute of

limitations, Rotella v. Wood, 528 U.S. 549, 553 (2000), and thus is not time barred. Even if

dismissal would result in Plaintiff losing some of her claims due to the statute of limitations, an

argument that is discussed in more detail below, that alone is not a basis to transfer the case

rather than dismissing it. This is especially true given that Defendants’ venue concerns were

raised previously, and Plaintiff took a calculated risk by amending the complaint and continuing

her suit here.6 Moreover, Plaintiff has made it clear that she wants nothing whatsoever to do with

the state of Colorado, asserting that she moved to Wyoming to avoid Colorado and that forcing

her to litigate there would be akin to requiring the victim of a crime “to move in with the

perpetrator.” Doc. 101 at 14–15. Given the strong aversion Plaintiff has to litigating in Colorado,

the Court would not presume to transfer the case there.

        III. Forum non conveniens

        Defendants also seek dismissal of Plaintiff’s claims under the doctrine of forum non

conveniens. Although the Court’s venue analysis resolves the case, the Court finds that even if

venue were proper in the Northern District of Illinois, the doctrine of forum non conveniens

would apply.




6
  By the Court’s rough calculation, the statute of limitations on Plaintiff’s claims would have begun to run
in March 2023, when Plaintiff’s disciplinary proceeding was terminated against her. Defendants’ first
motion to dismiss for improper venue was filed in January 2025, Doc. 56, providing Plaintiff notice of the
potential venue problem in advance of even the shortest statute of limitations that she claims may apply in
this case. See Doc. 101 at 12-13; see Morrison v. Goff, 91 P.3d 1050, 1055 (Colo. 2004) (attorney
malpractice statute of limitations runs two years after the plaintiff learns of the injury and its cause).
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       “The doctrine of forum non conveniens … empowers a court to dismiss a suit when

litigating in that court as opposed to an alternative forum unreasonably burdens the defendant.”

Instituto Mexicano del Seguro Soc. v. Zimmer Biomet Holdings, Inc., 29 F.4th 351, 357 (7th Cir.

2022). The doctrine “is an exceptional one that a court must use sparingly.” Deb v. SIRVA, Inc.,

832 F.3d 800, 805 (7th Cir. 2016). “A defendant invoking forum non conveniens ordinarily bears

a heavy burden in opposing the plaintiff's chosen forum.” Sinochem Int’l Co. Ltd. v. Malaysia

Int’l Shipping Corp., 549 U.S. 422, 430 (2007). But “[w]hen a plaintiff’s choice is not his home

forum … the presumption in the plaintiff’s favor applies with less force, for the assumption that

the chosen forum is appropriate is in such cases less reasonable.” Deb, 832 F.3d at 806. Plaintiff

resides in Wyoming, not Illinois, and so for the purpose of applying the doctrine here, the Court

will not put much weight on the fact that Plaintiff has chosen the Northern District of Illinois as

her preferred forum.

       To determine whether forum non conveniens dismissal is appropriate, “a court first must

determine if an alternative and adequate forum is available and then go on to balance the

interests of the various participants.” Id. at 807. Determining whether an alternative forum exists

is a “two-part inquiry involving availability and adequacy.” Id. “[A]n alternative forum is

available if all parties are amenable to process and are within the forum's jurisdiction.” In re

Factor VIII or IX Concentrate Blood Prods. Litig., 484 F.3d 951, 957 (7th Cir. 2007). A forum is

adequate if it “provides some potential avenue for redress for the subject matter of the dispute,”

even if it does not provide legal remedies “as comprehensive or as favorable” as might be

brought in the plaintiff’s chosen forum. Stroitelstvo Bulgaria Ltd. v. Bulgarian-Am. Enter. Fund,

589 F.3d 417, 421 (7th Cir. 2009).




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        Even if an alternative and adequate forum is available, the Court will only dismiss under

the doctrine if public and private interest factors favor dismissal. Clerides v. Boeing Co., 534

F.3d 623, 628 (7th Cir. 2008). Private interest factors include: “the relative ease of access to

sources of proof; availability of compulsory process for attendance of unwilling, and the cost of

obtaining attendance of willing, witnesses; possibility of view of premises, if view would be

appropriate to the action; and all other practical problems that make trial of a case easy,

expeditious and inexpensive.” Id. Public interest factors include: “the administrative difficulties

stemming from court congestion; the local interest in having localized disputes decided at home;

the interest in having the trial of a diversity case in a forum that is at home with the law that must

govern the action; the avoidance of unnecessary problems in conflicts of laws or in the

application of foreign law; and the unfairness of burdening citizens in an unrelated forum with

jury duty.” Id.

        The Court begins with availability of an alternative forum. Kamel v. Hill-Rom Co., 108

F.3d 799, 802 (7th Cir. 1997) (“As a practical matter, it makes little sense to broach the subject

of forum non conveniens unless an adequate alternative forum is available to hear the case.”).

Defendants identify the U.S. District Court for the District of Colorado as an available alternative

forum. As discussed, one of Plaintiff’s claims is brought under RICO, which allows for

nationwide service of process and personal jurisdiction over parties anywhere in the United

States. Lisak v. Mercantile Bancorp, Inc., 834 F.2d 668, 671–72 (7th Cir. 1987). Moreover, two

of the five defendants reside in Colorado, and the remaining defendants have acknowledged that

they would be amenable to process there. See Doc. 70 at 13 (CNA); Doc. 73 at 12 (Wilson

Elser); Doc. 94 at 5 (Hauber). Accordingly, there are no service of process or jurisdictional

issues if Plaintiff were to litigate the case in Colorado.

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        Plaintiff responds by asserting that “[e]ven if Defendants consent to service of process

and personal jurisdiction in another state court, this Plaintiff does not.” See Doc. 100 at 13. This

assertion does not render Colorado unavailable. Crediting Plaintiff’s argument would eviscerate

the doctrine of forum non conveniens, insofar as it would allow any plaintiff to defeat availability

by asserting their refusal to proceed anywhere other than the forum of their choosing.

Accordingly, the Court finds the U.S. District of Colorado to be an available forum.

        Turning to adequacy, Plaintiff’s first argument is that the U.S. District of Colorado

cannot provide her with an adequate remedy because the statute of limitations has run on her

claims. See Doc. 101 at 12–13. It is true that a forum may be inadequate if the plaintiff’s claims

would be time barred in the alternate forum. Chang v. Baxter Healthcare Corp., 599 F.3d 728,

736 (7th Cir. 2010). But that principle does not apply here because Plaintiff has numerous claims

that are not time barred and provide her avenues for redress on the subject matter of the dispute.

Plaintiff does not argue that her RICO claim (Count I) is time barred. Rotella v. Wood, 528 U.S.

549, 553 (2000) (four-year statute of limitations for civil RICO actions). And she asserts that the

events giving rise to her claims of breach of contract (Count II), unjust enrichment (Count V),

and fraud (Count VI)—all of which have three-year limitation periods—occurred between July

2022 and January 2023, which would still allow for a timely suit. Doc. 101 at 13. 7

        That leaves Plaintiff’s bad faith and malpractice claims, both of which Plaintiff argues

have two-year statutes of limitations. The first problem with Plaintiff’s argument is that she has

argued that Illinois law controls her dispute with CNA. Doc. 107 at 2. Under Illinois law, there is




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 As already discussed, the Colorado hearing board issued its decision finding against Plaintiff on March
3, 2023. People v. Kazazian, 531 P.3d 1 (O.P.D.J. 2023). It is plausible that the statute of limitations did
not begin to run until this injury occurred, which would extend the three-year statute of limitations to
March 2026.
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a ten-year statute of limitations for actions by insureds against their insurers based on an

insurance policy, not the two-year statute of limitations that Plaintiff claims. See Country

Preferred Ins. Co. v. Whitehead, 979 N.E.2d 35, 43 (Ill. 2012). Thus, the bad faith claim is

timely. With respect to her legal malpractice action, the Court agrees that the statute of

limitations is likely two years from “the time the client discovers, or through the use of

reasonable diligence should have discovered, the negligent act of the attorney.” Jacobson v.

Shine, 859 P.2d 911, 913 (Colo App. 1993). As such, the Court believes it is possible that the

statute of limitations ran for this claim in March 2025, two years from when Plaintiff would have

reasonably known that her insurance benefits had been spent on subpar legal services. That said,

an alternative forum can be adequate even if it “does not provide the same range of remedies” as

the plaintiff’s chosen forum, so long as “the parties will not be deprived of all remedies or

treated unfairly.” Kamel v. Hill-Rom Co., 108 F.3d 799, 803 (7th Cir. 1997) (emphasis added,

internal citation omitted). Accordingly, dismissal of Plaintiff’s claims under the doctrine of

forum non conveniens would be proper even if it meant the loss of one of her six claims, given

the survival of the majority of her claims and the fact that those claims involve the same factual

allegations and seek recovery for the same injury. For example, Plaintiff’s RICO claim is

premised on the same allegations underlying the legal malpractice claim and would allow for

treble damages against Defendants.8




8
 The Court has expressed skepticism that Plaintiff’s RICO claim would survive a 12(b)(6) analysis, but
also that Plaintiff would be allowed to amend it to attempt to state a viable claim. If Plaintiff were not
able to state a valid RICO claim, this Court would lose its basis for personal jurisdiction over Defendants
Melichar and Dr. Reiffel. In other words, either Plaintiff’s RICO claim is viable and she has no basis to
complain about the inadequacy of the District of Colorado, or Plaintiff’s RICO claim is not viable and the
District of Colorado is the only place that would have personal jurisdiction over Defendants Melichar and
Dr. Reiffel.
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        Separate from her statute of limitations concerns, Plaintiff asserts a litany of other reasons

why she cannot litigate her claims in the U.S. District Court for the District of Colorado. The

Court rejects Plaintiff’s argument that Colorado is inadequate because she is banned from filing

pro se, as that ban only extends to Colorado’s state courts. See GHP Horwath, P.C. v. Kazazian,

543 P.3d 1035, 1053 (Colo. 2024) (enjoining Plaintiff from proceeding pro se in “the state courts

of Colorado”). The Court also rejects Plaintiff’s arguments pertaining to the District of

Colorado’s approach to pro se filing. Plaintiff contends that under that court’s local rules, pro se

cases are reviewed by a magistrate judge and may be summarily dismissed and that this process

lacks transparency and may be unconstitutional. However, such dismissals are appealable on

their merits. See, e.g., Thompson v. Lengerich, 798 F. App’x 204, 207 (10th Cir. 2019)

(considering on the merits the District of Colorado’s dismissal of pro se plaintiff’s claims as

frivolous). As such, litigating pro se in the District of Colorado will not deprive Plaintiff of the

right to have her claims heard in court. The Court also rejects Plaintiff’s speculative argument

that “in all likelihood,” Melichar or “one of his consiglieres” exercises improper influence over

the District of Colorado’s Pro Se Division, Doc. 102 at 6, as “generalized, anecdotal complaints

of corruption are not enough” to find a forum inadequate. Stroitelstvo Bulgaria Ltd. v.

Bulgarian-Am. Enter. Fund, 589 F.3d 417, 421 (7th Cir. 2009) (collecting cases).

        Finally, the Court arrives at Plaintiff’s contention that the highly public nature of her

disbarment (and subsequent ban from pro se practice) in Colorado has rendered her a persona

non grata in the state, tainted the jury pool in the event any of her claims make it to trial, and

frustrated her efforts to secure counsel in the state. In particular, Plaintiff takes issue with the fact

that the District of Colorado’s Civil Pro Bono Panel—a program of volunteer attorneys willing to

represent individuals of limited financial means—is comprised of Colorado-based attorneys that

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would refuse to take on her case due to her reputation in the state. According to Plaintiff, this

makes the District of Colorado an inadequate forum.

       The Court is not aware of any case where a litigant has attacked the adequacy of a forum

based on her unique features, rather than the forum’s characteristics. See, e.g. Stroitelstvo

Bulgaria, 589 F.3d at 421–22 (considering types of recognized legal claims and perception of

public corruption in Bulgarian courts); Kamel v. Hill-Rom Co., 108 F.3d 799, 803 (7th Cir. 1997)

(considering availability of causes of action in Saudi Arabian courts); In re Factor VIII or IX

Concentrate Blood Prods. Litig., 484 F.3d 951, 957–58 (7th Cir. 2007) (differing causation

standards in tort cases considered for adequacy inquiry). Absent any directly applicable caselaw,

the Court notes that forums non conveniens inquiry is not about whether the forum is perfect, but

rather whether it is fundamentally flawed. Cf. Piper Aircraft Co. v. Reyno, 454 U.S. 235, 249

(1981); see also Deb v. SIRVA, Inc., 832 F.3d 800, 807 (7th Cir. 2016) (“A forum is not

inadequate merely because the law in the foreign jurisdiction is less favorable to the party

opposing dismissal”). Boiled down, Plaintiff’s assertions seem more about her litigation odds

and less about the ability of the legal system in Colorado to deliver a merits-based outcome. As

such, the Court rejects Plaintiff’s arguments as to the inadequacy of the District of Colorado.

       Having determined the District of Colorado to be an adequate and available alternative

forum, the Court considers the private and public interest factors. The weighing of the private

factors favors dismissal. The bulk of evidence and witnesses most relevant to Plaintiff’s core

claims are in Colorado, where two of three Counsel Defendants reside and received payments

from CNA despite their alleged failure to provide Plaintiff with an adequate legal defense. As

such, most discovery will take place in Colorado, and transporting evidence and witnesses to

Chicago—to which Plaintiff, proceeding pro se, would also have to travel from Wyoming—

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would create significant expense for all of the individual (i.e., non-corporate) parties. See

Stroitelstvo Bulgaria, 589 F.3d at 425 (dismissal favored where transporting evidence and

witnesses to plaintiff’s chosen forum would make litigation “unnecessarily expensive”).

        The public interest factors also lean towards dismissal. Defendants correctly note that the

Northern District of Illinois has a substantially higher caseload per judge than the District of

Colorado.9 More importantly, this dispute is fundamentally a Colorado issue. Taking her well-

pleaded allegations as true, Plaintiff has described the failure of a Colorado attorney and expert

to provide adequate defense to a once well-regarded Colorado lawyer during her Colorado

disciplinary proceeding. The consequence of this botched defense was her disbarment from

practice in Colorado, which drove Plaintiff out of the state. If this case reaches trial, a Colorado

jury has more of an interest in the outcome than an Illinois jury.

        In summary, the Court concludes that the balance of private and public interest factors

favors dismissing this case so it may be resolved in Colorado, an available and adequate

alternative forum. Thus, even if venue were proper in the Northern District of Illinois, the Court

would in its discretion dismiss Plaintiff’s case under the doctrine of forum non conveniens.

                                          CONCLUSION

        For the foregoing reasons, Plaintiff’s claims are dismissed under Rule 12(b)(3) for

improper venue. Even if venue were proper, the Court would dismiss Plaintiff’s claims under the




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 See UNITED STATES DISTRICT COURTS – NATIONAL JUDICIAL CASELOAD PROFILE 47, 79 (2025),
https://www.uscourts.gov/sites/default/files/document/fcms_na_distprofile0331.2025.pdf (showing 1,049
pending cases per judgeship in the Northern District of Illinois as of March 31, 2025, and 573 for the
District of Colorado).
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doctrine of forum non conveniens. For these reasons, the Court declines to reach the arguments

as to failure to state a claim under Rule 12(b)(6).




Dated: July 18, 2025                                       ______________________
                                                           APRIL M. PERRY
                                                           United States District Judge




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